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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                               CORPUS CHRISTI DIVISION

ADRIANNA MORALES AS NEXT                      §
FRIEND OF A MINOR D.J.M.,                     §
LAVON BETH MEYER and                          §
LEE ALLEN MEYER INDIVIDUALLY                  §
and AS REPRESENTATIVE OF THE                  §
ESTATE OF LYNDON DEAN MEYER                   §
                                              §      CIVIL NO.
                                              §      (JURY DEMANDED)
VS.                                           §
                                              §
PENSKE LOGISTICS, L.L.C.,                     §
PENSKE TRANSPORTATION                         §
MANAGEMENT, L.L.C. and                        §
LIBERTY LANE, L.L.C.                          §

                          PLAINTIFFS’ ORIGINAL COMPLAINT

TO THE HONORABLE DISTRICT COURT JUDGE:

       COME NOW Plaintiffs, ADRIANNA MORALES AS NEXT FRIEND OF A MINOR

D.J.M., LAVON BETH MEYER and LEE ALLEN MEYER INDIVIDUALLY and AS

REPRESENTATIVE OF THE ESTATE OF LYNDON DEAN MEYER, hereinafter called

Plaintiffs, complaining of PENSKE LOGISTICS, L.L.C., PENSKE TRANSPORTATION

MANAGEMENT, L.L.C., and LIBERTY LANE, L.L.C., hereinafter called Defendants. Plaintiffs

are filing this Original Complaint simultaneously with Plaintiffs’ (Motion for Leave to file and)

Second Amended Complaint in Cause Number 2:19CV-00094 pending in the United States

District Court for the Southern District of Texas Corpus Christi Division alleging identical causes

of action against Defendants as in this Original Complaint. Plaintiffs are filing both complaints in

an abundance of caution to ensure that their causes of action against Defendants are timely filed.

Plaintiffs plan to subsequently ask for both this new action and the existing action in Cause Number



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2:19CV-00094 to be consolidated after Defendants have been cited, served and made an

appearance. Plaintiffs would respectfully show the Court in this Original Complaint the following:

1.00     PARTIES

         1.01     Plaintiffs are residents of Goliad County, Texas.

         1.02     Defendant PENSKE LOGISTICS LLC., d/b/a TRANSFREIGHT (hereinafter

individually referred to as “PENSKE LOGISTICS”) is a limited liability company organized under

the laws of the state of Delaware with its principal place of business and home office located at

2675 Morgantown Road, Reading, PA 19607. PENSKE LOGISTICS is a federally authorized

motor carrier operating under USDOT #268015. Plaintiff does not have access to the information

necessary to affirmatively plead upon personal knowledge which state(s) PENSKE LOGISTICS

is a citizen of.      Based on information and belief obtained from conducting a reasonable

investigation by examining the secretary of state websites for the states of Texas, Pennsylvania,

and Delaware, conducting case law research on cases in which PENSKE LOGISTICS 1 was a

named party (which indicate that PENSKE LOGISTICS is only a citizen of Delaware, Maryland,

Michigan, Pennsylvania, and Tennessee), and examining other publicly available information

about PENSKE LOGISTICS on the internet (all of which provided no indication that PENSKE

LOGISTICS is a citizen of Texas), Plaintiff in good faith pleads that PENSKE LOGISTICS is an

limited liability company that does not have any member that is a citizen of Texas. Accordingly,

PENSKE LOGISTICS is not a citizen of Texas. PENSKE LOGISTICS may be served with

citation by mailing a true copy of the citation with a copy of the Complaint attached thereto by

certified mail, return receipt requested, to its Registered Agent in the state of Texas, Corporation


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 “Based on the citizenship of its various members as detailed in the Joint Attorney Certification, Penske is a citizen
of the states of Delaware, Maryland, Michigan, Pennsylvania, and Tennessee.” Mangini v. Penske Logistics, No. 11-
0270 (NLH/KMW), 2012 U.S. Dist. LEXIS 141591, at *2 (D.N.J. Sep. 28, 2012).

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Service Company d/b/a CSC-Lawyers Incorporating Service Company, at 211 E. 7th Street, Suite

620, Austin, TX 78701-3218.

         1.03   Defendant PENSKE TRANSPORTATION MANAGEMENT, L.L.C., (hereinafter

individually referred to as “PENSKE MANAGEMENT”) is a limited liability company organized

under the laws of the state of Delaware with its principal place of business and home office located

at 2675 Morgantown Road, Reading, PA 19607. PENSKE MANAGEMENT is a federally

authorized broker operating under USDOT #2353572. PENSKE MANAGEMENT has one

member: PENSKE LOGISTICS. Plaintiff does not have access to the information necessary to

affirmatively plead upon personal knowledge which state(s) PENSKE MANAGEMENT is a

citizen of. Based on the same information and belief obtained from conducting a reasonable

investigation into the citizenship of PENSKE LOGISTICS, as discussed in Paragraph 1.07 above,

Plaintiff in good faith pleads that PENSKE MANAGEMENT is a limited liability company that

does not have any member which is a citizen of Texas. Accordingly, PENSKE MANAGEMENT

is not a citizen of Texas. PENSKE MANAGEMENT may be served with citation by mailing a

true copy of the citation with a copy of the Complaint attached thereto by certified mail, return

receipt requested, to its Registered Agent in the state of Texas, Corporation Service Company d/b/a

CSC-Lawyers Incorporating Service Company, at 211 E. 7th Street, Suite 620, Austin, TX 78701-

3218.

         1.04   Defendant LIBERTY LANE LLC., (hereinafter individually referred to as

“LIBERTY LANE”) is a limited liability company organized under the laws of the state of North

Carolina with its principal place of business and home office located at 27 Drakes Meadow Ln.,

Arden, North Carolina 28704. LIBERTY LANE is a federally authorized motor carrier operating

under USDOT #2159555. LIBERTY LANE has one member: Aleksandr Lastivka, who is a

citizen of North Carolina domiciled at 27 Drakes Meadow Ln., Arden, North Carolina 28704.
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Accordingly, LIBERTY LANE is a citizen of North Carolina and only North Carolina. LIBERTY

LANE may be served with citation by mailing a true copy of the citation with a copy of the

Complaint attached thereto by certified mail, return receipt requested, to its Process Agent with

All American Agents of Process, Jeffrey Fultz, at 10343 Sam Houston Park Dr., #210, Houston,

TX 77064-4656.

2.00    JURISDICTION AND VENUE

        2.01    The amount in controversy, exclusive of interest and costs, exceeds the minimum

jurisdictional limits of this court.

        2.02    Jurisdiction is proper in this court as there is diversity of citizenship between the

parties as provided by 28 U.S.C. §1332(a).

        2.03    The Court has personal jurisdiction over the Defendants because they purposefully

availed themselves of the rights and privileges of Texas law. On information and belief, PENSKE

MANAGEMENT selected and hired LIBERTY LANE, a motor carrier, to provide for the

transportation of goods, via a commercial motor vehicle, on the public highways of Texas for

pecuniary gain. In the alternative, on information and belief, PENSKE MANAGEMENT selected

and hired Liberty Commercial, LLC (hereafter sometimes referred to as “LIBERTY” and a

Defendant in Cause Number 2:19CV-00094), a transportation broker, to select and hire a motor

carrier to provide for the transportation of goods, via a commercial motor vehicle, on the public

highways of Texas for pecuniary gain. On information and belief, LIBERTY LANE and/or

PENSKE LOGISTICS agreed to undertake to perform transportation services in Texas for

pecuniary gain. This lawsuit arises out of Defendants’ contacts and business conducted within the

state of Texas, inasmuch as this lawsuit arises out of the motor vehicle collision in the state of

Texas involving LYNDON DEAN MEYER, deceased, and the tractor-trailer owned by OK

TRANSPORT (a California motor carrier and Defendant in Cause Number 2:19CV-00094) and
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driven by SATNAM SINGH LEHAL (a Defendant in Cause Number 2:19CV-00094), which

LIBERTY hired and/or selected to provide for the transportation of the goods that SATNAM

SINGH LEHAL was in route to pick up over the public highways in the state of Texas at the time

of the crash. On information and belief, at the time of the crash, PENSKE LOGISTICS and/or

LIBERTY LANE was/were the statutory employer(s) of SATNAM SINGH LEHAL, and were

therefore operating as motor carriers in Texas at the time of the crash, as set forth in more detail

in Section 3.00 below.

        2.04   Venue is proper in the Southern District of Texas pursuant to 28 U.S.C. § 1391

because a substantial part of the events giving rise to this claim occurred in this district. LYNDON

DEAN MEYER, deceased, and Defendant, SATNAM SINGH LEHAL, were involved in an

automobile crash within this district.

3.00    RESPONDEAT SUPERIOR

        3.01   Whenever in this Complaint it is alleged that a Defendant did any act or thing, it is

meant that the Defendant’s agents, officers, servants, employees or representatives did such act or

thing and that at the time such act or thing was done, it was done with the full authorization or

ratification of said Defendant or was done in the normal and routine course and scope of

employment of Defendant’s officers, agents, servants, employees or representatives.

        3.02   The following is pleaded on information and belief: Aident, PLC is one of the

largest automotive seat suppliers in the world with its United States operation based in Michigan.

Aident supplies automobile seats to Tesla. To facilitate supplying its product to Tesla, Aident has

a facility in Newark, California, which is close to Tesla’s facility in Freemont, California (both

generally in the greater “Bay Area” surrounding San Francisco). Aident has a relationship with a

company in Mexico that manufactures (either in whole or in part) the automobile seats that Aident

supplies Tesla. The seats are transported across the U.S. border to Laredo, Texas, to await
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transport to Aident’s facility in Newark, California. Thus, Aident has a constant need for eighteen-

wheelers to transport its products from Laredo, Texas to Newark, California (and sometimes back).

As a result, Aident contracted with PENSKE LOGISTICS to transport shipments of goods

(automobile seats) from Laredo to Newark (and sometimes back). With respect to the shipment

that SATNAM SINGH LEHAL was dispatched to and in route to pick up at the time of the crash

giving rise to this case, PENSKE LOGISTICS agreed and undertook to transport Aident’s goods

from Laredo, Texas to Newark, California as a “motor carrier” under its federal motor carrier

operating authority. Pursuant to 49 U.S.C. 13901(c) (commonly referred to as “MAP-21”), once

PENSKE LOGISTICS agreed and undertook to transport Aident’s goods from Laredo, Texas to

Newark, California as a “motor carrier”, it could not later change its designation as the “motor

carrier” responsible for the transportation services in interstate commerce of Aident’s goods. The

commercial motor vehicle that SATNAM SINGH LEHAL was operating at the time of this crash

was not owned by PENSKE LOGISTICS.                Pursuant to 49 C.F.R. Chapter 376, PENSKE

LOGISTICS could only provide such transportation services with equipment that it did not own

pursuant to a written lease that gave PENSKE LOGISTICS responsibility for and control over the

equipment, which made PENSKE LOGISTICS the statutory employer of the SATNAM SINGH

LEHAL at the time of this crash. And pursuant to 49 C.F.R. section 390.5, the driver was an

“employee,” and PENSKE LOGISTICS was his “employer,” even if the driver was denominated

an “independent contractor” or common law employee of OK TRANSPORT. Accordingly,

PENSKE LOGISTICS is vicariously liable for all negligent acts committed by its statutory

employee, SATNAM SINGH LEHAL, in the course and scope of his operating the 18-wheeler

after he was dispatched and in route to pick up the goods to be hauled from Laredo, TX to Newark,

CA at the time of this crash and for the resulting serious injuries to Plaintiffs and damages suffered

by Plaintiffs.
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        3.03   In the alternative, LIBERTY LANE agreed and undertook to transport the

automobile seats from Laredo, Texas to Newark, California as a motor carrier under its federal

motor carrier operating authority. Pursuant to 49 U.S.C. 13901(c) (commonly referred to as

“MAP-21”), once LIBERTY LANE agreed and undertook to transport Aident’s goods from

Laredo, Texas to Newark, California as a “motor carrier”, it could not later change its designation

as the “motor carrier” responsible for the transportation services in interstate commerce of Aident’s

goods. The commercial motor vehicle that SATNAM SINGH LEHAL was operating at the time

of this crash was not owned by LIBERTY LANE. Pursuant to 49 C.F.R. Chapter 376, LIBERTY

LANE could only provide such transportation services with equipment that it did not own pursuant

to a written lease that gave LIBERTY LANE responsibility for and control over the equipment,

which made LIBERTY LANE the statutory employer of the SATNAM SINGH LEHAL at the

time of this crash. And pursuant to 49 C.F.R. section 390.5, the driver was an “employee,” and

LIBERTY LANE was his “employer,” even if the driver was denominated an “independent

contractor” or common law employee of OK TRANSPORT. Accordingly, LIBERTY LANE is

vicariously liable for all negligent acts committed by its statutory employee, SATNAM SINGH

LEHAL, in the course and scope of his operating the 18-wheeler after he was dispatched and in

route to pick up the goods to be hauled from Laredo, TX to Newark, CA at the time of this crash

and for the resulting serious injuries to Plaintiffs and damages suffered by Plaintiffs.

3.04    Because PENSKE LOGISTICS and/or LIBERTY LANE agreed to be responsible for the

transportation of the goods in interstate commerce under their federal motor carrier operating

authority, and therefore qualified as “motor carriers” and “employers” of SATNAM SINGH

LEHAL pursuant to federal statutes and the Federal Motor Carrier Safety Regulations, they are

vicariously liable for the negligence of the driver, SATNAM SINGH LEHAL. SATNAM SINGH

LEHAL was acting in the course and scope of this statutory employment at the time of the crash.
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As a result, PENSKE LOGISTICS and/or LIBERTY LANE is/are vicariously liable for the

negligence of SATNAM SINGH LEHAL that was a proximate cause of the collision and the

Plaintiffs’ injuries and damages.

4.00           STATEMENT OF FACTS AND CAUSES OF ACTION

        4.01   Plaintiffs bring this suit to recover for damages sustained by Plaintiffs as a result of

the personal injuries to and death of LYNDON DEAN MEYER resulting from a collision on

December 26, 2018, in Bee County, Texas with a commercial motor vehicle 18-wheeler tractor-

trailer owned by OK TRANSPORT and driven by SATNAM SINGH LEHAL. The collision was

proximately caused by Defendants’ negligence/negligence per se. At such time and place, the 18-

wheeler owned by OK TRANSPORT and driven by SATNAM SINGH LEHAL crossed over into

the oncoming lane of traffic on State Highway 202 and crashed into the pickup driven by

LYNDON DEAN MEYER, deceased. As a result of the incident, LYNDON DEAN MEYER,

deceased, sustained personal injuries, resulting in his death.

        4.02   The injuries and damages suffered by Plaintiffs were directly and proximately

caused by the negligence and/or negligence per se of the Defendants, individually and acting by

and through their servants, agents, and employees, as set out herein. At the time and place in

question, SATNAM SINGH LEHAL was acting as the agent, servant, and employee of OK

TRANSPORT, and was within the scope and course of his employment for OK TRANSPORT.

Further, on information and belief, at the time of the collision, SATNAM SINGH LEHAL was the

statutory employee of PENSKE LOGISTICS and/or LIBERTY LANE, because one or both of

these Defendants agreed and undertook to transport the goods under its/their federal motor carrier

operating authority and to be responsible for the transportation of the goods in interstate commerce,

making it/them a “motor carrier” and “employer” under federal statutes and regulations, all as set

forth in more detail in Paragraphs 3.02-3.04, above. Defendants, acting through their agents,
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servants and employees, in the course and scope of their employment, were guilty of acts of

negligence and/or negligence per se, each of which jointly and severally proximately caused the

injuries to and death of LYNDON DEAN MEYER and the damages suffered by Plaintiffs.

       4.03    The collision and the resulting serious injuries to and death of LYNDON DEAN

MEYER and damages to Plaintiffs made the basis of this suit also resulted from the negligence

and/or negligence per se of the OK TRANSPORT, acting by and through its servants, agents, and

employees, in negligently hiring SATNAM SINGH LEHAL and in knowingly entrusting its

tractor trailer to a reckless or otherwise incompetent driver as they knew or should have known

that SATNAM SINGH LEHAL was reckless and otherwise incompetent. Plaintiffs would also

show SATNAM SINGH LEHAL was negligent in driving the vehicle when he knew or should

have known he was medically impaired, and that OK TRANSPORT was negligent in allowing

SATNAM SINGH LEHAL to drive when OK TRANSPORT knew or should have known that

SATNAM SINGH LEHAL was medically impaired.                 Plaintiffs would show the medical

impairment was a proximate cause of the crash.

       4.04   The collision and the resulting serious injuries to and death of LYNDON DEAN

MEYER and damages to Plaintiffs made the basis of this suit further resulted from the negligence

of Defendant, LIBERTY acting by and through its servants, agents, and employees, in hiring OK

TRANSPORT to provide for the transportation of goods originating in Laredo, Texas, with a final

destination of Newark, California. LIBERTY knew or should have known that OK TRANSPORT

was incompetent in operating its commercial motor vehicles on the public roadways among the

motoring public. LIBERTY failed to exercise ordinary care to investigate OK TRANSPORT and

ascertain OK TRANSPORT’S competence and qualifications in its commercial vehicle operation.

Had LIBERTY exercised ordinary care in investigating and selecting OK TRANSPORT, it would

have learned that OK TRANSPORT was not a competent motor carrier to safely transport goods
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on a public highway, including that OK TRANSPORT was a non-rated motor carrier that had

publicly available FMCSA BASIC (Behavior Analysis & Safety Improvement Categories) scores

indicating both a long term and recent history of unsafe operation, including “Unsafe Driving”. A

reasonably prudent transportation property broker would have learned prior to selecting OK

TRANSPORT that it had received a letter from the FMCSA dated August 10, 2018 (approximately

four and a half months prior to this crash) formally warning OK TRANSPORT of its safety

performance and compliance problems in the area of “Unsafe Driving” and that OK TRANSPORT

did not have sufficient safety management controls to properly train and supervise its drivers,

including SATNAM SINGH LEHAL. Therefore, a reasonably prudent transportation property

broker would not have hired OK TRANSPORT to transport property in interstate commerce,

including the load that SATNAM SINGH LEHAL was in route to pick up at the time of the

collision.

        Plaintiffs were damaged as a result of LIBERTY’S incompetence, recklessness and

negligence in investigating OK TRANSPORT’S competence to transport goods in a commercial

motor vehicle on the public roadways and in selecting OK TRANSPORT to transport goods in a

commercial motor vehicle on the public roadways, because had LIBERTY exercised ordinary care

in investigating OK TRANSPORT, it would have learned that OK TRANSPORT was not

competent to safely transport goods in a commercial motor vehicle on the public roadways. The

negligence of LIBERTY in investigating, selecting and hiring OK TRANSPORT to operate the

commercial motor vehicle involved in this crash was a proximate cause of the collision in which

Lyndon Dean Meyer was killed.

        4.05   On information and belief, the collision and the resulting serious injuries to and

death of LYNDON DEAN MEYER and damages to Plaintiffs made the basis of this suit further

resulted from the negligence of Defendant, PENSKE MANAGEMENT acting by and through its
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servants, agents, and employees, in hiring LIBERTY LANE to provide for the transportation of

goods originating in Laredo, Texas, with a final destination of Newark, California. PENSKE

MANAGEMENT knew or should have known that LIBERTY LANE was incompetent in

operating its commercial motor vehicles on the public roadways among the motoring public.

PENSKE MANAGEMENT failed to exercise ordinary care to investigate LIBERTY LANE and

ascertain LIBERTY LANE’S competence and qualifications in its commercial vehicle operation.

Specifically, PENSKE MANAGEMENT did not require LIBERTY LANE to provide it with any

information or documentation regarding LIBERTY LANE’S operation as a motor carrier, its

policies, procedures or practices (including any safety management controls) to ensure that its

transportation services were provided by safe and competent drivers. PENSKE MANAGEMENT

did not examine or ignored relevant safety indicators — including BASIC scores, Out-of-Service

violations, and driver preventable crash history — available on the FMCSA’s public website

regarding LIBERTY LANE. Further, PENSKE MANAGEMENT did not inquire into or require

LIBERTY LANE to explain the facts and circumstances regarding why its BASIC scores indicated

a history of unsafe operation or explain what LIBERTY LANE was doing to ensure safe operation

in light of these unsafe BASIC scores. PENSKE MANAGEMENT did not inquire into or require

LIBERTY LANE to explain the facts and circumstances regarding why its Out-of-Service rates 2

were higher than the national average when compared to those of other motor carriers after

roadside enforcement inspections, or explain what LIBERTY LANE was doing to ensure safe

operation in light of these higher-than-average Out-of-Service rates.                           Further, PENSKE

MANAGEMENT never required LIBERTY to undergo any review of its qualifications or

procedures subsequent to initially hiring LIBERTY. Had PENSKE MANAGEMENT exercised


2
 Out-of-Service violations are safety violations that are critical and pose an imminent threat to the motoring public,
and therefore must be remedied before the commercial motor vehicle is placed back onto the public highways.
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ordinary care in investigating and selecting LIBERTY LANE, it would have learned that

LIBERTY LANE was not a competent motor carrier to safely transport goods on a public highway,

including that LIBERTY LANE: (i) was a non-rated, single-unit motor carrier; (ii) had publicly

available FMCSA BASIC scores indicating both a long term and recent history of unsafe

operation, including “Unsafe Driving” and “Vehicle Maintenance”; (iii) had Out-of-Service rates

higher than the national average after roadside enforcement inspections; and (iv) had only one

driver for its operation and its only driver had previously caused a reportable crash that was deemed

preventable. A reasonably prudent transportation property broker would have learned prior to

selecting LIBERTY LANE that it did not have sufficient safety management controls to ensure

that it had competent, safe drivers providing transportation under its operating authority, and

therefore a reasonably prudent transportation property broker would not have hired LIBERTY

LANE to transport property in interstate commerce, including the load that SATNAM SINGH

LEHAL was in route to pick up at the time of the collision.

       Plaintiffs were damaged as a result of PENSKE MANAGEMENT’S incompetence,

recklessness and negligence in investigating LIBERTY LANE’S competence to transport goods

in a commercial motor vehicle on the public roadways and in selecting LIBERTY LANE to

transport goods in a commercial motor vehicle on the public roadways, because had PENSKE

MANAGEMENT exercised ordinary care in investigating LIBERTY LANE, it would have

learned that LIBERTY LANE was not competent to safely transport goods in a commercial motor

vehicle on the public roadways. The negligence of PENSKE MANAGEMENT in investigating,

selecting and hiring LIBERTY LANE to operate the commercial motor vehicle involved in this

crash was a proximate cause of the collision in which Lyndon Dean Meyer was killed.

       4.06    In the alternative to the facts alleged in Paragraph 4.05, above, on information and

belief, the collision and the resulting serious injuries to and death of LYNDON DEAN MEYER
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and damages to Plaintiffs made the basis of this suit further resulted from the negligence of

Defendant, PENSKE MANAGEMENT acting by and through its servants, agents, and employees,

in hiring LIBERTY as a transportation broker to select and hire a motor carrier to provide for the

transportation of goods originating in Laredo, Texas, with a final destination of Newark,

California. PENSKE MANAGEMENT knew or should have known that LIBERTY was reckless

or incompetent in investigating, selecting and hiring motor carriers to operate commercial motor

vehicles on the public roadways among the motoring public. PENSKE MANAGEMENT failed

to exercise ordinary care to investigate LIBERTY and ascertain LIBERTY’S competence and

qualifications as a transportation broker. Specifically, PENSKE MANAGEMENT did not require

LIBERTY to provide it with any information or documentation regarding LIBERTY’S operation

as a transportation broker, its policies, procedures or practices, or how it selects competent motor

carriers. PENSKE MANAGEMENT did not inquire into or require LIBERTY to explain the facts

and circumstances surrounding either the notice of threatened revocation of its operating authority

in January 2018 and the actual involuntary revocation of its operating authority by federal

authorities the following month in February 2018. Further, PENSKE MANAGEMENT never

required LIBERTY to undergo any review of its qualifications or procedures subsequent to initially

hiring LIBERTY. Had PENSKE MANAGEMENT exercised ordinary care in investigating and

selecting LIBERTY, it would have learned that LIBERTY was not a competent transportation

broker who could and would safely select a motor carrier to transport goods on a public highway,

including that LIBERTY: (i) had no selection criteria to select a competent motor carrier other

than to verify that a motor carrier had valid operating authority, minimum insurance levels and

anything other than a “non-satisfactory” safety rating; (ii) did not consider a motor carrier’s safety

history (including BASIC scores), crash history, out-of-service rates compared to the national

average of other motor carriers, or anything else that could indicate that a motor carrier is not
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competent to safely operate in interstate commerce; and (iii) had a prior involuntary revocation of

its operating authority in its operating history, indicating a “willful disregard to follow the rules” 3

        Plaintiffs were damaged as a result of PENSKE MANAGEMENT’S incompetence,

recklessness and negligence in investigating LIBERTY’S competence to investigate, select and

hire a motor carrier to transport goods in a commercial motor vehicle on the public roadways and

in selecting LIBERTY to do so, because had PENSKE MANAGEMENT exercised ordinary care

in investigating LIBERTY, it would have learned that LIBERTY was not competent to safely

investigate, select and hire a competent motor carrier to transport goods in a commercial motor

vehicle on the public roadways. The negligence of PENSKE MANAGEMENT in investigating,

selecting and hiring LIBERTY as a transportation property broker was a proximate cause of the

collision in which Lyndon Dean Meyer was killed.

        4.07    The above-referenced acts and/or omissions of all of the Defendants, when viewed

objectively from the standpoint of the Defendants at the time of the occurrence, involved an

extreme degree of risk, considering the probability and magnitude of potential harm to others, and

were of such a nature that Defendants had a subjective awareness of the risks involved, but

nevertheless proceeded with conscious indifference to the rights, safety, and welfare of others,

including but not limited to the Plaintiffs. All of the Defendants should therefore be required to

pay exemplary damages for which Plaintiffs now sue.




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  The FMCSA exercises its authority to revoke operating authority when the broker or motor
carrier has “engaged in conduct demonstrating willful disregard for applicable requirements.
Inadvertent, isolated, or sporadic violations of applicable requirements generally will not result
in revocation . . ..” And in determining whether to revoke operating authority, FMCSA
evaluates, among other things, the degree to which existing or past violations will affect, or have
affected, the safety of operations, and whether adequate safety management controls exist. 77
FR 46147-03 at 46148.

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5.00    DAMAGES

        5.01    D.J.M., surviving child of LYNDON DEAN MEYER, has suffered pecuniary loss

from the death of his father, including losses of care, maintenance, support, services, advice,

counsel, and contributions of a pecuniary value that he would, in reasonable probability, have

received from his father during his lifetime had he lived. He has suffered additional losses by virtue

of the destruction of the parent-child relationship, including the right to love, affection, solace,

comfort, companionship, society, emotional support and happiness. He has suffered severe mental

depression and anguish, grief and sorrow as a result of the death of his father, LYNDON DEAN

MEYER, and is likely to continue to suffer for a long time in the future. For these losses,

ADRIANNA MORALES, AS NEXT FRIEND OF D.J.M., seeks damages in a sum in excess of

the minimum jurisdictional limits of this court.

        D.J.M. has also suffered a loss of inheritance. For these losses, ADRIANNA MORALES,

AS NEXT FRIEND OF D.J.M., seeks damages in a sum in excess of the minimum jurisdictional

limits of the court.

        5.02    LAVON BETH MEYER AND LEE ALLEN MEYER, surviving parents of

LYNDON DEAN MEYER, have suffered pecuniary loss from the death of their son, including

losses of care, maintenance, support, services, advice, counsel, and contributions of a pecuniary

value that they would, in reasonable probability, have received from their son during his lifetime

had he lived. LAVON BETH MEYER AND LEE ALLEN MEYER have suffered additional

losses by virtue of the destruction of the parent-child relationship, including the right to love,

affection, solace, comfort, companionship, society, emotional support and happiness. They have

suffered mental depression and anguish, grief, and sorrow as a result of the death of their son

LYNDON DEAN MEYER and are likely to continue to suffer for a long time in the future.


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        5.03    LYNDON DEAN MEYER was wrongfully and negligently killed as hereinbefore

described but did not die instantly. He experienced conscious pain and suffering, for which he

would have been entitled to recover damages. The cause of action for damages of conscious pain

and suffering prior to his death and for funeral and medical expenses survive, and on his death

accrued to his heirs at law under section 71.021 of the Civil Practices and Remedies Code. This

claim is brought by the Plaintiff LEE ALLEN MEYER as executor of the estate.

6.00    PRAYER

        6.01    WHEREFORE, Plaintiffs pray that the Defendants be duly cited to appear and

answer herein; that upon a final trial of this cause, Plaintiffs will recover:

        1.      Judgment against Defendants, jointly and severally, for Plaintiffs’ damages as set

                forth above, in an amount in excess of the minimum jurisdictional limits of this

                Court;

        2.      Exemplary damages;

        3.      Interest on said judgment at the legal rate from date of judgment;

        4.      Prejudgment and post-judgment interest as allowed by law;

        5.      Costs of Court; and




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      6.     Such other and further relief to which Plaintiffs may be entitled.



                                           Respectfully submitted,

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                                       BY: ____/s/_______________________________
                                           ERIC T. PENN
                                           State Bar No. 24029767
                                           ATTORNEYS FOR THE PLAINTIFFS



       PLAINTIFFS HEREBY RESPECTFULLY DEMAND A TRIAL BY JURY.




Plaintiffs’ Second Amended Complaint
